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                      United States Court of Appeals
                                   FIFTH CIRCUIT
                                OFFICE OF THE CLERK
ġ                       ġ                                ġ
LYLE W. CAYCE           ġ                                        TEL. 504-310-7700
CLERK                   ġ                                     600 S. MAESTRI PLACE,
                        ġ                                             Suite 115
                                                             NEW ORLEANS, LA 70130

                                July 06, 2022


Mr. Philip Devlin
Western District of Texas, Waco
United States District Court
800 Franklin Avenue
Waco, TX 76701
                Re: Deliris Montanez Berrios
Dear Mr. Devlin,
I am returning the notice of appeal because it is not directed to
this court. The notice of appeal indicates that it is directed to
the district court.


                                    Sincerely,
                                    LYLE W. CAYCE, Clerk


                                    By: _________________________
                                    Charles B. Whitney, Deputy Clerk
                                    504-310-7679
